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·1· · · · · · · · · ·LISA RODENBURG PhD
·2· · · · ·A.· ·Yes.
·3· · · · ·Q.· ·And they can be used to visually
·4· ·represent data; is that correct?
·5· · · · ·A.· ·Yes.
·6· · · · ·Q.· ·I'll share my screen again.· We'll
·7· ·go to your report, Exhibit 1.· If we turn to
·8· ·page 21 here, we can see an example of a bar
·9· ·chart at the top, right?
10· · · · ·A.· ·Yes.
11· · · · ·Q.· ·And so in this instance it looks
12· ·like you have used the bar chart to represent
13· ·PCB peaks across the X axis and your relative
14· ·amount of each peak on the Y axis; is that
15· ·right?
16· · · · ·A.· ·Yes.
17· · · · ·Q.· ·And in forming your opinions, you
18· ·used bar charts to perform the visual
19· ·inspections we discussed, right?
20· · · · ·A.· ·Yes.
21· · · · ·Q.· ·And you performed those visual
22· ·inspections of PMF factors against the Aroclor
23· ·profiles and byproduct profiles you
24· ·considered, right?
25· · · · ·A.· ·Could you repeat that question.


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